                   Case 1:22-cv-00085-JRH-BKE Document 1 Filed 07/11/22 Page 1 of 11

                                                                                                          U.S. n' r                p ■*"! pj
Pro Se 1 (Rev. 12/16)Complainl for a Civil Case
                                                                                                                    (.ic' v) 1.   u I •«.




                                          United States District Couruozz jul i i p u- 39
                                                                       for the

                                                    Soi/titem District of _Meo'igiR                            vO . Liw j. wt' GA.

                                                            Al^osb.         Division



                                                                                 Case No.        CV12J2- 08 5
                                                                                             (to befilled in by the Clerk's Office)
 OWes                                      1 ovi Ic r
                            Plaintiff(s)
(Write the full name of each plaintiff who is fling this complaint.
Ifthe names ofall the plaintiffs cannotft in the space above,
                                                                                 Jury Trial: (checkone) \ I Yes [^No
please write "see attached" in the space and attach an additional
page with the full list ofnames.)
                                    -V-




?ceecluom_Aoc4aa^e C(5f|)ora|rOjn
                             De,
(Write thefid I name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotft in the space above, please
write "see attached" in the space and attach an additional page
with the full list of names.)



                                                  COMPLAINT FOR A CIVIL CASE



1.         The Parties to This Complaint
           A.        The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                                   Name
                                                                      JcuneS i-iiwxfifYl' Toi^LcX
                                   Street Address                     2d 23                   "Drive
                                   City and County                    ATfjousm
                                   State and Zip Code                 G^ro'ia ,
                                   Telephone Number
                                   E-mail Address



           B.        The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.


                                                                                                                                            Page 1 of 5
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Pro Se I (Rev. 12/16)Complaint for a Civil Case


                     Defendant No. 1

                                Name

                                Job or Title (ifknown)
                                                           fftedjotn vUflf-fgQQe C.o(pofc?fion
                                Street Address             10^66 KlnmcT Drive;Su3€
                                City and County                      .'lAnlWlOn
                                State and Zip Code         Xryd-tajgo^ ^
                                Telephone Number
                                E-mail Address (ifknown)


                     Defendant No.2
                                                                        i j(vt\ I
                                Name                       Gr overf\me2aT ^GiIionAi          e                 at)
                                Job or Title (ifknown)       Ouj
                                Street Address

                                City and County
                                                           _ ___
                                                           TSVN*
                                                                               _^
                                State and Zip Code
                                Telephone Number
                                E-mail Address (ifknown)


                     Defendant No. 3

                                Name                       ■LnSPtre C(o$i(\a Services. itC
                                Job or Title (ifknown)      C lo5iJU'e-'X41-HCoTyvpa^
                                Street Address                   Kguger 5LcdL,        b()t)
                                City and County            AAiw TouJr^O , Ml
                                State and Zip Code                  Vg»j\\CSl > 1^1 0^
                                Telephone Number                     ao\-
                                E-mail Address (ifknown)


                     Defendant No.4

                                Name

                                Job or Title (ifknown)
                                Street Address

                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (ifknown)




                                                                                                 Page 2 of 5
                   Case 1:22-cv-00085-JRH-BKE Document 1 Filed 07/11/22 Page 3 of 11

Pro Se 1 (Rev. 12/16)Complaint for a Civil Case


II.       Basis for Jurisdiction


          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types ofcases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen ofone State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                  21Federal question                               dU Diversity of citizenship

          Fill out the paragraphs in this section that apply to this case.

           A.        If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case. i?^Usc                                                     i6US(iW3ie
                               mm Cr^cf

           B.        If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.        The PlaintifF(s)

                                           If the plaintiff is an individual
                                           The plaintiff, (name)                   JJ ^                            a citizen of the
                                           State of(name)


                                           If the plaintiff is a corporation
                                           The plaintiff, (name)                   IJ\ I I                    ' incorporated
                                           under the laws of the State of(name)        J\J j
                                           and has its.principal place of business in the State of(name)



                                (Ifmore than one plaintiffis named in the complaint, attach an additional page providing the
                                same informationfor each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individuah       /

                                           The defendant, (name) K I I                 h                      ' ^ citizen of
                                           the State of(name)    / \j I                                        is a citizen of
                                          (foreign nation)           y         f       j

                                                                                                                           Page 3 of 5
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Pro Se 1 (Rev. 12/16)Complaint for a Civil Case




                                b.        If the defendant is a corporation
                                          The defendant, (name)                                           ,is incorporated under
                                          the laws of the State of(name)                                            ,and has its

                                          principal place of business in the State of(name)
                                          Or is incorporated under the laws of(foreign nation)
                                          and has its principal place of business in (name)

                               (Ifmore than one defendant is named in the complaint, attach an additional page providing the
                                same informationfor each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75^00, nbt counting interest and costs of court, because (explain):




III.
                                              13^ U8t ItJ-ltoTKabm kfe Mh
           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
           involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
           write a short and plain statement ofeach claim in a separate paragraph. Attach additional pages


          00 UiiiY                                                                                                           Gawue

          (lompVdftce 4^0 i>coA mjl vM^oto (jf
IV.        Relief         'ICLUSC^. A/^
                                                                                                                      on^McfaWhir;
           State briefly and precisely what damages or other relief the plamtiffasks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
                           nplary damageselain^d,
           punitive or exemplary  damageSiClairn^d, the amounts, ai^
                                                                 and the reasons
                                                                         rea:    you claim you are entitled to actual or
           punitive money damages.

          CuoC^IvcotceoS or Ol(( QHijfOuriS'
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              ^eobch ouofll                                 pdVvam
                                             .                                                         vlo
                    Case 1:22-cv-00085-JRH-BKE Document 1 Filed 07/11/22 Page 5 of 11

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case




V.         Certification and Closing

           Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
           and beliefthat this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
           unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
           nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
           evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
           opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
           requirements of Rule 11.

           A.         For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.


                      Date of signing:


                      Signature ofPlaintiff
                      Printed Name of Plaintiff


           B.         For Attorneys


                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number

                      Name of Law Firm

                      Street Address

                      State and Zip Code
                      Telephone Number
                      E-mail Address




                                                                                                                       Page 5 of 5
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Freedom Mori'Gacje"
P.O. Box 50485, Indianapolis,IN 46250-0485




JAMES TAYLOR
2023 ASHLEY DR
AUGUSTA OA 30906




December 8, 2021



Re: Loan Number 0115266785
Susan A. Taylor


Dear James Taylor,

Thank you for contacting Customer Care at Freedom Mortgage Corporation. We received your inquiries regarding
your Notice of Error via mail on November 22 and November 23, 2021. We appreciate the opportunity to assist you
and hope that you find the following information helpful.

Your correspondence makes numerous requests for information and documentation relating to the above referenced
loan. Pursuant to 12 C.F.R. §1024.36, a servicer is not required to respond to requests for information that is unduly
burdensome, nor is the servicer required to address overbroad requests that seek an unreasonable volume of
documents or information. A servicer is also not required to respond to requests for information irrelevant to a
borrower's loan or to requests that seek confidential, privileged, or proprietary information. In addition, a servicer is
not required to provide a borrower with information or documentation that is not in the servicer's control or
possession or that cannot be retrieved in the ordinary course of business through reasonable efforts. It is Freedom
Mortgage's position that several ofthe requests fit within one or more ofthese exceptions under 12 C.F.R. §1024.36.
Subject to the foregoing exceptions and limitations. Freedom Mortgage has reviewed the loan file, and our response
to the information requests are contained below, and in the document(s) enclosed herewith.

Our records indicate that the loan was refinanced with Freedom Mortgage Corporation in July 2020. Please be
advised the transfer of the servicing of the mortgage loan does not affect any terms or conditions ofthe Note or
security instrument(Mortgage), other than the terms related to the servicing ofthe loan.

We have reviewed the information in connection with the above referenced loan and provide you with copies ofthe
Note and Mortgage pursuant to your request. We have included copies of the requested documents and a copy of the
payment history for your review and records. If a document you requested is not included in our correspondence or is
missing, please specify which document so we may provide you with a copy for your records. Freedom Mortgage
Corporation is the current servicer of the loan, with an address of 10500 Kincaid Drive, Suite 111, Fishers, IN 46037,
with rights to enforce the terms of the security instruments and collect on the debt. The owner of this loan is Ginnie
Mae(GNMA).

Please find below Original Principal Balance, Current Principal Balance, a breakdown ofthe current Principal and
Interest, Escrow (if applicable). Escrow Balance and any funds in Unapplied/Suspense.

Original Principal Balance: $72,298.00
Current Principal Balance: $70,184.35
              Case 1:22-cv-00085-JRH-BKE Document 1 Filed 07/11/22 Page 7 of 11




Freedom Mortgage*
P.O. Box 50485,Indianapolis,IN 46250-0485




JAMES TAYLOR
2023 ASHLEY DR
AUGUSTA OA 30906




February 15,2022


Re: Loan Number 0115266785



Dear James Taylor,

Thank you for contacting Freedom Mortgage Corporation. We received your request via mail on January 31,2022
regarding validating the debt. We appreciate the opportunity to assist you and hope that you find the following
information helpful.

The loan referenced above originated with Freedom Mortgage Corporation on July 1,2020. The loan is currently on a
Covid-19 Assistance Forbearance Plan which began on April 1,2021 and is scheduled to end on March 31,2022. On
October 1,2020 the account was updated to reflect that yourself, James Taylor, and Jacqueline Taylor are the
successor in interest of the loan.

We have reviewed the information in connection with the above referenced loan and provide you with copies of the
Note and Mortgage (including all addendums/iiders)to validate the debt as witnessed by the primary account holder's
signature(s). In addition, are copies of the Residential Loan Application, Closing Disclosure, Notice of Right to
Cancel, First Payment Letter, Verification of Mortgage and Payment History have been enclosed for your review and
records. Freedom Mortgage Corporation is the current servicer of the loan, with an address of 105(X)Kincaid Drive,
Suite 111, Fishers,IN 46037, with rights to enforce the terms of the security instruments and collect on the debt.

Please find below Original Principal Balance, Current Principal Balance, a breakdown of the current Principal and
Interest, Escrow (if applicable). Escrow Balance and any funds in Unapplied/Suspense.

Original Principal Balance: $72,298.(X)
Current Principal Balance:$70,0184.35
Principal & Interest: $348.34
Escrow Payment: $238.21
Escrow Balance: $-102.65
Unapplied Balance: $0.00

*Please be advised the figures provided to you are not payoff figures.

As of the date of this letter, the loan is due for the October 1,2021, November 1,2021, December 1,2021,January 1,
2022,and Febraary 1,2022 payments totaling the amount of $2,932.75. *Please be advised this amount is not a
           Case 1:22-cv-00085-JRH-BKE Document 1 Filed 07/11/22 Page 8 of 11


,'.".MNSPIRE
   CLOSING SERVICES




    TITLE COMPANY:          INSPIRE CLOSING SERVICES
    BORROWER(S):            SUSAN A TAYLOR
    PROPERTY ADDRESS:       2023 Ashley Dr, Augusta,GA 30906
    LOAN ft:                0115266785                        ORDER ft: 444513

                      ERROR AND OMISSIONS/ COMPLIANCE AGREEMENT
    STATE OF GEORGIA
    COUNTY OF RICHMOND

    The undersigned borrower(s) for and In consideration of the above-referenced Lender funding the
    closing of this loan agrees. If requested by the Lender or Closing Agent for the Lender, to fully cooperate
    and adjust for clerical errors, any or all loan closing documentation If deemed necessary or desirable In
    the reasonable discretion of the Lender to enable the Lender to sell, convey, seek guaranty of market
    said loan to any entity. Including but not limited to an Investor, Federal National Mortgage Association,
    Federal Home Mortgage Corporation, Government National Mortgage Association, Federal Housing
    Authority or the Department of Veterans Affairs, or any Municipal Bonding Authority.
    The undersigned borrower(s) agree(s) to comply with all above noted requests by the above-referenced
    Lender/Closing Agent within 30 days from the date of mailing of said requests. Borrower{s) agree(s) to
    assume all costs Including, by way of Illustration and not limitation, actual expenses, legal fees and
    marketing losses for falling to comply with correction requests In the above noted time period.
    The undersigned borrower(s) do hereby so agree and covenant In order to assure that this loan
    documentation executed this date will conform and be acceptable In the marketplace In the Instance of
    transfer, sale or conveyance by the Lender of Its Interest in and to said loan documentation, and to
    assure marketable title In the said borrower(s).

     DATED effective this                                         .ao3-Q


     SUSAN A TAYLOR




    State of Cc>^Tra\q
                                      ss:

    County of



    This Instrument was acknowledged before me on            1                                           ^by
       Svi.SftD .ft •

                                                       NotanfPupIc
    '             SEPTEMBER         -                  My Qomcnisslon Expires:   q Jf
       ■    P        08       ^•
                                     =
             •^     2023      Oi*




                '"mm**
               Case 1:22-cv-00085-JRH-BKE Document 1 Filed 07/11/22 Page 9 of 11




I 'Ri£iioM M<
PO Box 50485, Indianapolis, IN 46250-0485




                                                 Verification of Mortgage

Date: December 8, 2021

Requestor Information:
      Company/Name:

Borrower Information:
           Account Number:                  0115266785


           Borrower Name:                   SUSAN A TAYLOR
           Property Address:                2023 ASHLEY DR
                                            AUGUSTA          OA 30906


                  Date Loan Opened:                                                    07/01/20

                  First Payment Due Date:                                              09/01/20

                  Original Unpaid Principal Balance;                                  $72,298.00

                  Current Unpaid Principal Balance:                                   $70,184.35

                  Loan Type                                                                 VA

                  Maturity Date                                                        07/2045

                  Next Due Date                                                        10/01/21

                  Principal and Interest Payment                                        $348.34

                  Total Monthly Payment Amount                                          $586.55

                  Amount Past Due                                                      $1,759.65

                  Date Last Paid                                                       10/04/21

                  Present Status of Mortgage                                             Current




                                                    Times Delinquent This Year
             15 Days                             30 Days                   60 Days         90 Days
                 1                                  3                         1               2
                                                     Times Delinquent Last Year
             15 Days                             30 Days                    60 Days        90 Days
                 0                                  0                         0               0




2.66
                  Case 1:22-cv-00085-JRH-BKE Document 1 Filed 07/11/22 Page 10 of 11
7/11/22,1:40 PM                                                                              Detail History




  07/11/22

  SOSAN A TAYLOR                                                                              Account Number 115266785

  2023 ASHLEY OR

  AOGOSTA                    GA 30906

  Collateral


  Original Balance              72298.00                   PSI Payment                       348.34                Next Due Date                07/01/22
  Current Balance               68678.61                   Escrow Payment                    171.42                Last Payment Date            06/24/22
  Escrow Balance                   1774.08                 Opt Ins Payment                    0.00                 Current Interest Rate         3.12500
  Unapplied Balance                   0.00                 Buydown                            0.00
  Fee Balance                         0.00                 Total Payment                     519.76



  History from 07/01/20 through 07/11/22 Beginning statement balance                        72298.00           Ending statement balance          68678.61


    Posting    sseaetiva   Said *o              Ssaasaetioa                Total
     Data        Oats       Data                Dascriptlott               Aaonat               Psinolpal          Xatazaat     Escrow      Insaxaaoa    othar
   07/09/20    07/09/20    08/01/20   CtOSINC INTEREST                              154.75                  0.00       154.75        0.00         0.00        0.00
   07/09/20    07/01/20    08/01/20   Wise RECEIPT                                 160.94                   0.00        0.00       160.94         0.00        0.00
    OB/06/20   08/01/20    08/01/20   NISC RECEIPT                             -160.94                      0.00        0.00      -160.94         0.00        0.00
    OB/06/20   08/01/20    08/01/20   taSC RECEIPT                                 160.94                   0.00        0.00       160.94         0.00        0.00
    OB/31/20   08/31/20    09/01/20   PAIKBNT                                      509.28              160.06          188.28      160.94         0.00        0.00
   09/0B/20    09/08/20    09/01/20   ESCROW DISBORSEHSNT                      -910.08                      0.00        0.00      -910.08         0.00        0.00
   10/01/20    10/01/20    10/01/20   PATMENT                                      509.28              160.48         187.86       160.94         0.00        0.00
   10/2B/20    10/28/20    10/01/20   ESCROW DISBURSEKENT                      -1004.00                     0.00        0.00     -1004.00         0.00        0.00
   11/02/20    10/31/20    11/01/20   PAIKENT                                      509.28              160.90         187.44       160.94         0.00        0.00
   12/01/20    12/01/20    12/01/20   PAYMENT                                      509.28              161.32         187.02       160.94         0.00        0.00
   01/18/21    01/18/21    12/01/20   DKCOU. LATE CHARGE                             0.00                   0.00        0.00        0.00          0.00      -20.37 L
   Ol/lB/21    01/18/21    12/01/20   LATE CBG ASSESSED                              0.00                   0.00        0.00        0.00          0.00      -20.37 L
   01/21/21    01/21/21    01/01/21   PAYMENT                                      529.65              161.74         186.60       160.94         0.00       20.37 L
   02/02/21    02/02/21    02/01/21   PAYMENT                                      509.28              162.16         186.18       160.94         0.00       0.00
   02/19/21    02/19/21    02/01/21   HISC RECEIPT                             1004.00                      0.00        0.00      1004.00         0.00       0.00
   02/22/21    02/22/21    02/01/21   HISC RECEIPT                            -1004.00                      0.00        0.00     -1004.00         0.00       0.00
   02/22/21    02/19/21    02/01/21   MISC RECEIPT                             1004.00                   0.00           0.00      1004.00         0.00       0.00
   03/02/21    03/02/21    03/01/21   PAYMENT                                      586.55              162.58         185.76      238.21          0.00       0.00


                                       F= Fee Payment              L° Late Charges                 No UnaoaLied




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                                                                                                                                                                       1/2
                   Case 1:22-cv-00085-JRH-BKE Document 1 Filed 07/11/22 Page 11 of 11
7/11/22,1:40 PM                                                                       Detail History

  07/11/22                                                                        Account Number 11526678S

  SUSAN A TAYLOR



    eoating    K££kotlva   Paid to              Xzanaaetlea         Total
     Data         Oata      Oata                DaaerlptleB         Aaoimt               gglnolpal          Xataraat     BaoroN      XaaoraacM    Othax
    08/09/21   08/09/21    04/01/21   PAXMENT                                586.55             163.00          185.34      238.21         0.00       0.00
    08/09/21   08/09/21    05/01/21   PAXMBNT                                586.55             163.43          184.91      238.21         0.00       0.00
   08/09/21    08/09/21    06/01/21   PAYMENT                                586.55             163.85          184.49      238.21         0.00       0.00
   08/09/21    08/09/21    07/01/21   PAYMENT                                586.55             164.28          184.06      238.21         0.00       0.00
   08/31/21    08/31/21    07/01/21   BSCRON DISBURSEMENT               -1059.00                     0.00        0.00     -1059.00         0.00       0.00
   09/01/21    09/01/21    08/01/21   PAYMENT                                586.55             164.71          183.63      238.21         0.00       0.00
   09/22/21    09/22/21    08/01/21   BSCRON DISBURSEMENT                -927.62                     0.00        0.00      -927.62         0.00       0.00
    10/04/21   10/04/21    09/01/21   PAYMENT                               586.55              165.14         183.20       238.21         0.00       0.00
   06/10/22    06/10/22    10/01/21   PAYMENT                               586.55              165.57         182.77       238.21         0.00       0.00
   06/10/22    06/10/22    10/01/21   MISC RECEIPT                          425.24                   0.00        0.00         0.00         0.00     425.24 H
   06/13/22    06/13/22    11/01/21   PAYMENT                                161.31             166.00         182.34       238.21         0.00    -425.24 N
   06/24/22    06/24/22    12/01/21   PAYMENT                               586.55              166.43         181.91       238.21         0.00       0.00
   06/24/22    06/24/22    12/01/21   HISC RECEIPT                           79.04                   0.00        0.00         0.00         0.00      79.04 N
   06/24/22    06/24/22    01/01/22   PAYMENT                               507.51              166.87         181.47       238.21         0.00     -79.04 N
   06/24/22    06/24/22    02/01/22   PAYMENT                               586.55              167.30         181.04       238.21         0.00       0.00
   06/24/22    06/24/22    02/01/22   MISC RECEIPT                           79.04                   0.00        0.00        0.00          0.00      79.04 N
   06/24/22    06/24/22    03/01/22   PAYMENT                               440.72              167.74         180.60       171.42         0.00    -79.04 N
   06/24/22    06/24/22    04/01/22   PAYMENT                               519.76              168.17         180.17       171.42         0.00       0.00
   06/24/22    06/24/22    05/01/22   PAYMENT                               519.76              168.61         179.73       171.42         0.00       0.00
   06/24/22    06/24/22    06/01/22   PAYMENT                               519.76              169.05         179.29       171.42         0.00       0.00


                                       F= Fee Payment         L° Late Charges               Na UnaooHed




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